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                           UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF HAWAII

   In Re Subpoena to                            )    Misc Case No.: 1:20-mc-
                                                )    (17 USC 512(h) Subpoena)
                                                )
   Cloudflare, Inc., et al.                     )
                                                )

                    CLOUDFLARE, INC. SUBPOENA ATTACHMENT A

            Background: Owner is investigating Copyright Infringement of its visual

  design. Owner’s investigator has determined that the websites at following IP

  addresses infringe owner’s visual design. These IP addresses are associated with

  Cloudflare.



   No          IP                Website
        1      104.28.9.196      https://www.movieboxpro.app/
        2      104.26.11.66      https://appvalleyapp.com/moviebox/
        3      104.16.123.127    https://medium.com/moviebox-
                                 app/moviebox-pro-ios6-7-02-04-2020-
                                 update-for-watch-movies-and-tv-
                                 shows-for-free-ceab896641ac
        4      104.31.71.124     https://showbox.care/
        5      104.18.52.27      https://www.showboxapp.co/

                                                 1
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       6       104.24.111.218   https://showbox-apk.mobi/
       7       104.20.83.194    https://apkpure.com/showbox-
                                app/com.tdo.showbox
        8      104.27.139.62    https://showbox.link/
        9      104.27.131.58    https://showboxvpn.com/
       10      104.24.111.50    https://showbox.fun/apk/
       11      104.18.219.223   https://vocal.media/geeks/showbox-
                                app-fantastic-features-and-the-
                                downloading-process
       12      104.27.191.124   https://showbox.tel/
       13      104.22.36.224    https://troypoint.com/showbox-apk/
       14      172.67.167.216   https://showbox.zone/
       15      104.27.187.100   https://apkplaygame.com/showbox/
       16      104.18.32.80     https://showbox.buzz/showbox-apk-
                                android/
            Definitions: The term “Customer” refers to: (1) the individual who was

  assigned or given access to the IP addresses; or (2) the individual who registered

  for service for the website.

                                    DOCUMENT REQUESTS

  1.        Documents sufficient to identify the full name and contact information

  (including physical addresses, web addresses, email addresses, telephone numbers,

  and fax numbers) for the Customer.

  2.        Applications, forms, and other documents that were submitted in order to

  create or make changes to the Customer Account.

  3.        Documents sufficient to identify the Internet Protocol (“IP”) address used by

  the Customer, including session date and time stamps at the time of registration.

  4.        Payment details such as payment source and name associated with payment

  source, but not credit card numbers.

  5.        The host provider of the website if Cloudflare is not the host provider.
                                                2
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  6.    Owner does not request content information such as the content of data files

  stored in a customer’s account.




                                          3
